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EXHIBIT
Case 2:11-cv-12422-AC-MKM ECF No. 129-11, PagelD.2134 Filed 07/28/14 Page 2 of 3

LAW OFFICE

ALBERT L. HOLTZ, PC. FACSIMILE
Avner? L, HOLYZ 4910 YTELEORAPH ROAD, BUITE 250 (248) 203-6326
oF COUNSEL BLOOMPIELD HILLS, MICHIGAN 48302 Cot ath
Lirson, NEson, Corr, aholiz @lipsonnelison.com
Serrzer & Gaain, RC. TELEPHONE (245) 593-8000 Ipassons Otipsonnelison.com

8 September 2010

Nationwide Life Insurance Company
One Nationwide Plaza A
Columbus OH 43215-2220

Re: Estate of Gary H. Lupiloff, deceased
Policy: L034804300
Initial face value: $500,000

To Whom lt May Concam:

Please be advised that | am an attomey who represents Nicole Lupiloff who is the
appointed Personal Representative of the Estate of Gary H. Luplloff, deceased. Ms.
Lupiloff was appointed as Personal Representative by an Oakland County Probate Court
order (a copy of which fs attached hereto — “Letter of Authority’). Please be advised also
that | represent Nicole Lupiloff, individually, as well as her sister, Monica Luplloff, who are
contingent beneficiaries under the subject policy (a copy of which Is attached hereto).

Please be advised that one or more of my clients herewith asserts a claim to the proceeds
of the policy. it is requested that you pay no one until a determination is made by court

order, which I intend to seek. Please acknowledge receipt of this letter and feel free to
contact me for any further information you may desire.

Very truly yours,
rAd
Albert L. Holtz

Enc.

Case 2:11-cv-12422-AC-MKM ECF No. 129-11, PagelD.2135 Filed 07/28/14 Page 3 of 3

Approved, SCAO

. US CODR: LET
RILENO.
SE SDATE oer LETTERS OF AUTHORITY FOR
COUNTY OF OAKLAND PERSONAL REPRESENTATIVE

2010-330,599-DE

Estate of GARY HARMON LUPILOFF AKA GARRY HARMON

Deceased
To: Wame ond address
NICOLE LUPILOFF
5465 POSSUM LANE
ORCHARD LAKE Ml] 48324

Telephone so.

You have been appointed and qualified as personal representative(s)

of the estate on July 30, 2010
Yow are authorized to perform all acts authorized by law unless exceptions are specified below Date
{FY our authority is limited in the following way:

You have no authority over the estate’s sea} estate or ownership interests in a business entity that you identified on your
acceptance of appointment.
Clother restrictions or limitations are:

Ed These letters expire: NO EXPIRATION DATE
Date

seat tA Jr YL)

Judge (formal fracecdingeyReghster Jil Koney Dal as

roceedin ?

Bar no.
SEE NOTICE OF puffs ON SECOND PAGE
Anttomey name (type or prist) Bas no,
Address
City, state, zip Telephone no.

} certify that | have compared this copy with the original on file and that it is a correct copy of the original, and on this date, these
letters are in full force and effect.

a lso-id [A C—_
Date > 3 Deputy begister

Der

4 Do not write below this tine — For court use only
ASOD FILED 20
oOo 3
5 3
oO 2 Deputy Register of Probate

‘2

MCL 700.3103, MCL 700.3307, MCL 700.

MCL 700.3504, MCL 7
PC siz (1007) LETTERS OF AUTHORITY FOR PERSONAL REPRESENTATIVE — MCR 5.202, MCR 5.206, MCR 5307,

